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90 F.4th 1144 (2024)

Omar SANTOS, on behalf of themselves and all others similarly
situated, Amanda Clements, on behalf of themselves and all others
similarly situated, Plaintiffs-Appellants,

Vv.

HEALTHCARE REVENUE RECOVERY GROUP, LLC., d.b.a. ARS
Account Resolution Services, Defendant, *1145
Experian Information Solutions, Inc., Defendant-Appellee.

No. 22-11187.
United States Court of Appeals, Eleventh Circuit.
Filed: January 12, 2024.

*1148 Appeal from the United States District Court for the Southern District of Florida,
D.C. Docket No. 1:19-cv-23084-KMW.

Peter Prieto, Matthew P. Weinshall, Alissa Del Riego, Podhurst Orseck, PA, Miami, FL,
Catherine Dorsey, Baron & Budd, PC, Washington, DC, Jonas Mann, Roland Tellis,
Baron & Budd, PC, Encino, CA, Dennis McCarty, Jonathan Raburn, McCarty & Raburn
PLLC, Rockwall, TX, for Plaintiffs-Appellants.

Robert Nolan Stander, Jacob Roth, Jones Day, Washington, DC, Alexander G. Hughes,
Jones Day, Houston, TX, Ana Maria Cristina Perez Soto, Jones Day, Miami, FL, John A.
Vogt, Jones Day, Irvine, CA, for Defendant-Appellee.

Before William Pryor, Chief Judge, and Luck and Hull, Circuit Judges.
Per Curiam:

We grant the petition for panel rehearing, vacate our prior opinion reported at 85 F.4th
1351 (11th Cir. 2023), and substitute the following opinion making some minor changes
to Part Ill.

KEK

Where a consumer reporting agency willfully fails to comply with the requirements
imposed on it under the Fair Credit Reporting Act, a consumer has two options to
recover damages. The first option allows a consumer to recover "any actual damages
sustained by the consumer as a result of the failure." 15 U.S.C. § 1681n(a)(1)(A). And
the second option allows a consumer to recover "damages of not less than $100 and not
more than $1,000." /d. The issue in this case is whether, under the second option, the
consumer can recover "damages of not less than $100 and not more than $1,000"
without proving actual damages caused by the consumer reporting agency's willful
violation of the Act. Joining every other circuit to address the same issue, we conclude
that a consumer does not have to prove actual damages to recover statutory damages
under the second option. Because the district court reached the opposite conclusion and
denied class certification as a result, we vacate the district court's class certification
order and remand for further proceedings.

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Experian Information Solutions, Inc. is a "consumer reporting agency," meaning it

into files summarizing consumers’ credit histories. Experian provides these summaries in
the form of "reports," known as "disclosures" when the reports are sent to the consumer
directly, listing every credit and collection account a consumer has incurred. Each
account on these reports is known as a "tradeline."

*1149 Healthcare Revenue Recovery Group, LLC is a debt collection company that
obtains accounts in default, known as collection accounts, from medical providers. In
2017, Healthcare Revenue began furnishing its collection account data to Experian, but
Experian misadjusted a technical setting that affected how it processed Healthcare
Revenue's data.

That faulty setting caused all consumer reports featuring Healthcare Revenue accounts
to display inaccurate "dates of status" or "payment level dates" on the Healthcare
Revenue tradelines. These status date fields are supposed to show the date when an
account reached its currently reported status. For collection accounts, like the ones
Healthcare Revenue reported to Experian, the status dates should generally reflect the
date a consumer's debt entered collections. The status date usually shouldn't change
because once a debt collector opens a collection account the account's status remains
the same until the debtor makes a payment or the Act requires consumer reporting
agencies to stop reporting the account. But, because of Experian's technical error, the
status dates on the Healthcare Revenue tradelines in consumers’ credit reports
improperly updated each month to display the current month.

This error continued for more than a year and a half before Experian detected and
corrected it. When Experian's employees finally noticed the error, they worried about the
impact it would have on credit scores, consumer disputes, and automated Experian
reporting products.

All told, more than 2.1 million consumers had credit reports with inaccurate Healthcare
Revenue status dates sent by Experian to third parties. Among those consumers were
Mr. Santos and Ms. Clements. Their July 2017 consumer disclosures list incorrect status
dates of July 2017 for their Healthcare Revenue tradelines and state that this credit
information was "shared with" their "current and prospective creditors and employers."
Although Mr. Santos's and Ms. Clements's credit scores weren't lowered by these errors,
consumers' creditworthiness can nevertheless be affected by how long an account has
been in collection—with more recent collection accounts having a greater negative
impact.

Mr. Santos and Ms. Clements filed a class action complaint and sought to represent a
class of individuals whose Healthcare Revenue tradelines had been wrongly "re-aged”
by Experian. They alleged that Experian "willfully" violated its obligation under the Fair
Credit Reporting Act to "follow reasonable procedures" to ensure consumer credit
reports were prepared with "maximum possible accuracy" when it allowed credit reports
to reflect allegedly inaccurate status dates. See 15 U.S.C. §§ 1681e(b), 1681n(a)(1)(A).
And they sought "damages of not less than $100 and not more than $1,000" for
Experian's willful violation of the Act. See id. § 1681n(a)(1)(A).

Experian eventually moved for summary judgment. It did not dispute that Mr. Santos's
and Ms. Clemenits's credit reports listed inaccurate status dates for their Healthcare
Revenue tradelines. But it argued that the Act's damages provision for willful violations—
section 1681n(a)(1)(A)— required Mr. Santos and Ms. Clements to prove that they were
denied credit, and incurred actual damages, as a result of the re-aged status dates.
Because they didn't show a genuine dispute of any actual damages, Experian argued
that it was entitled to summary judgment. Mr. Santos and Ms. Clements responded that
section 1681n(a)(1)(A) allowed consumers to recover "damages of not less than $100
and not more than $1,000" without having to prove, *1150 as an element of their claim,
that they incurred actual damages. The district court, relying on our decision in Cahlin v.
General Motors Acceptance Corporation, 936 F.2d 1151 (11th Cir. 1991), concluded that
section 1681n(a)(1)(A) required proof of actual damages. But the district court denied

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Experian's summary judgment motion because there was some evidence that Mr.

After the close of discovery, Mr. Santos and Ms. Clements moved to certify a class of all
consumers "whose Experian credit reports had an account or accounts reported by
[Healthcare Revenue] with an inaccurately displayed Date of Status and were viewed by
one or more third-parties." They argued they met the numerosity, commonality, typicality,
and adequacy requirements of Federal Rule of Civil Procedure 23(a) and the
predominance and superiority requirements of Rule 23(b). As to the predominance
requirement, Mr. Santos and Ms. Clements rehashed their summary judgment argument
that, because the class only sought "damages of not less than $100 and not more than
$1,000," they did not have to prove any actual damages caused by Experian's willful
violation of the Act. Thus, "any individualized issues concerning class members’ actual
damages” were "irrelevant." Experian, in response, argued that because section
1681n(a)(1)(A) required that the putative class members prove they were actually injured
by a consumer reporting agency's willful violation of the Act, each class member's
individual proof of damages would predominate over common questions.

The magistrate judge agreed with Experian that Mr. Santos and Ms. Clements hadn't
met the predominance requirement in Rule 23(b). That's because, the magistrate judge
explained, the district court had already concluded in its summary judgment order that
section 1681n(a)(1)(A) required consumers to prove they incurred actual damages as a
result of willful violations of the Act. And because the putative class members would
have to prove they incurred actual damages because of the re-aged status dates, the
magistrate judge concluded that the district court would be required to engage in "an
individual and highly factual determination" as to whether each class member suffered
actual damages. With the predominance requirement unmet, the magistrate judge
recommended denying Mr. Santos and Ms. Clements's class certification motion and did
not reach the other Rule 23 class certification requirements. The district court adopted
the magistrate judge's recommendation and denied class certification.

Mr. Santos and Ms. Clements petitioned for permission to appeal the district court's class
certification order under Rule 23(f). See Fed. R. Civ. P. 23(f) ("A court of appeals may
permit an appeal from an order granting or denying class-action certification...."). They
sought permission to appeal the district court's conclusion that section 1681n(a)(1)(A)
required them to prove they incurred actual damages "to prevail on their claims seeking
statutory damages for willful violations" of the Act. We granted permission, and this is
their appeal.

"Whether a plaintiff has standing to sue is a threshold jurisdictional question that we
review orders denying class certification for abuse of discretion. Nonetheless, whether
the district court applied the correct legal standard in reaching its decision on class
certification is a legal question that we review de novo." Murray v. U.S. Bank Tr. Nat'l
Ass'n, 365 F.3d *1151_1284, 1288-89 (11th Cir. 2004) (cleaned up). "The district court
abuses its discretion if it "applies the wrong legal standard, follows improper procedures
in making its determination, bases its decision on clearly erroneous findings of fact, or
applies the law in an unreasonable or incorrect manner.” Tershakovec v. Ford Motor
Co., Inc., 79 F.4th 1299, 1306 (11th Cir. 2023) (quoting Loc. 703, 1.B. of T. Grocery &

We begin with our jurisdiction. Experian argues that Mr. Santos and Ms. Clements lack
Article Ill standing to bring this action because they failed to prove that they suffered a

194 L.Ed.2d 635 (2016) ("To establish injury in fact, a plaintiff must show that he or she

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suffered an invasion of a legally protected interest that is concrete and particularized and

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Intangible harms are concrete if they bear "a close relationship to harms traditionally
recognized as providing a basis for lawsuits in American courts." TransUnion LLC v.

the Fair Credit Reporting Act by "reporting ... inaccurate information about [a
consumer]'s credit ... has a close relationship to the harm caused by the publication of
The consumer need not prove "that the false reporting caused his credit score to
plummet; the false reporting itself [is the injury." Losch v. Nationstar Mortg. LLC, 995
F.3d 937, 943 (11th Cir. 2021). Because the record contains evidence that Experian
inaccurately reported to creditors that Mr. Santos's and Ms. Clements's accounts entered
collections more recently than they did, the plaintiffs have standing. See id. at 943-44
("repeatedly report[ing] a non-existent delinquent mortgage debt on [the plaintiffs] credit
report to third parties" was an Article Ill injury).

Of course, "[b]Jecause the elements of standing ‘are not mere pleading requirements but
rather an indispensable part of the plaintiff[s'] case, each element must be supported ...
with the manner and degree of evidence required at the successive stages of the
litigation."" Jacobson v. Fla. Sec'y of State, 974 F.3d 1236, 1245 (11th Cir. 2020)

2130, 119 L.Ed.2d 351 (1992)). For example, "if an action proceeds to trial, the facts
necessary to establish standing ‘must be supported adequately by the evidence

adduced at trial." /d. (quoting Lujan, 504 U.S. at 561, 112 S.Ct. 2130).

IV.

We turn now to the question of statutory construction, and "[a]s in any case of statutory
construction, our analysis begins with the language of the statute." Smith v. Marcus &
Millichap, Inc., 991 F.3d 1145, 1161 (11th Cir. 2021) (quotation omitted). The Fair Credit
Reporting Act requires consumer reporting agencies to "follow reasonable procedures to
assure maximum possible accuracy of the information" in consumers’ credit reports. 15
U.S.C. § 1681e(b). The Act creates a private right of action for consumers against "[a]ny
person who willfully" violates the Act. /d. § 1681n(a).

Before 1996, the private right of action in section 1681n(a)(1)(A) only had an option
*1152 for consumers to recover damages for actual damages they suffered as a result of
the willful violation. See Harris v. Mexican Specialty Foods, Inc., 564 F.3d 1301, 1306
(11th Cir. 2009) (citing Omnibus Consolidated Appropriations Act, 1997, Pub. L. No. 104-
208, § 2412, 110 Stat. 3009, 3009-446 (1996)). But Congress amended the Act in 1996
to provide a second option— "damages of not less than $100 and not more than
$1,000." Id. (quoting Omnibus Consolidated Appropriations Act, 1997 § 2412). As
amended, section 1681n(a)(1)(A) allows a consumer to recover "[1] any actual damages
sustained by the consumer as a result of the failure or [2] damages of not less than $100
and not more than $1,000." 15 U.S.C. § 1681n(a)(1)(A) (emphasis added). In other
words, as the Supreme Court explained in Spokeo, section 1681n(a)(1)(A) allows a
consumer to recover "either [1] actual damages or [2] statutory damages of $100 to
$1,000." 578 U.S. at 335, 136 S.Ct. 1540 (quotation omitted).

This case is about whether the term "damages" in the second option requires a
consumer to prove that he's suffered actual damages because of a willful violation. Mr.
Santos and Ms. Clements argue that the second option does not require proof of actual
damages. But Experian insists that Congress made recovery under both options
contingent on a showing of actual damages, and "damages" under the second option
are reserved for consumers who incur actual damages but either can't prove the precise
amount of damages or suffered less than $100 in actual damages.

We read the statute the same way Mr. Santos and Ms. Clements do—consumers may

seek statutory damages under the second option of section 1681n(a)(1)(A) without 135
showing actual damages.

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A.

To answer whether section 1681n(a)(1)(A) allows a consumer to recover "damages"
without proving actual damages, we must determine the “ordinary meaning" of
"damages" as used in the second option. See Wis. Cent. Lid. v. United States, 585 U.S.
274, 138 S. Ct. 2067, 2070, 201 L.Ed.2d 490 (2018) ("[O]ur job is to interpret the words
consistent with their ordinary meaning at the time Congress enacted the statute."
(alteration adopted) (quotation omitted)). When looking at the word in isolation,
"damages" had two possible meanings in 1996. It could mean the "[mJoney ... ordered to
be paid to[] a person as compensation for loss or injury," Damages, Black's Law
Dictionary (7th ed. 1999), as Experian contends. (This definition requires actual
damages.) And "damages" could mean "the sum of money which a person wronged is
entitled to receive from the wrongdoer as compensation for the wrong," id. (quoting
Frank Gahan, The Law of Damages 1 (1936)), as Mr. Santos and Ms. Clements argue.
(This definition does not require actual damages, just a violation.)

But, "[t]o determine the ordinary meaning of a term," "[w]e do not look at [it] in isolation."
In re Walter Energy,_Inc., 911 F.3d 1121, 1143 (11th Cir. 2018) (second alteration in
original) (quotation omitted). "[I]nstead we look to the entire statutory context" to
“ascertain the plain meaning of a statute." /d. So that's what we'll do here. We will look at
the entire statutory context of the Act to determine the ordinary meaning of "damages"
as used in the second option.

First, we look to the different language used in the first and second options. The first
option, for example, allows consumers to recover "actual damages," see 15 U.S.C. §

1153 1681n(a)(1)(A), which are defined as damages that "compensate for a proven *1153
injury or loss." Actual Damages, Black's Law Dictionary (7th ed. 1999) (emphasis
added). The first option then emphasizes that the "actual damages" must be "sustained
by the consumer" before the consumer can recover them. 15 U.S.C. § 1681n(a)(1)(A).
And the first option has a causal element that links the consumer's actual damages to
the consumer reporting agency's conduct. The consumer can only recover damages
“sustained ... as a result" of the consumer reporting agency's willful violation of the Act.
Id. (emphasis added).

But the second option doesn't have any of these requirements. The second option allows
consumers to recover "damages" even if their damages are not “actual damages," see
id. (emphasis added), that is, even if they do nof "compensate for a proven injury or
loss," Actual Damages, Black's Law Dictionary (7th ed. 1999). Consumers can recover
"damages" even if they are not "sustained by the consumer." See 15 U.S.C. § 1681n(a)
(1)(A). And there is no causal element like in the first option. Id.

"When Congress uses different language in similar sections, we should give those words
different meanings." McCarthan v. Dir. of Goodwill Indus.-Suncoast, Inc., 851 F.3d 1076,
1089 (11th Cir. 2017) (quotation omitted). That's what we will do here. "[B]Jecause
Congress generally acts intentionally when it uses particular language in one section of
a statute but omits it in another," Dep't of Homeland Sec. v. MacLean, 574 U.S. 383,

"sustained by the consumer," and "as a result of the failure" to mean that the second
option doesn't require these things, see id. ("Congress's choice to say ‘specifically
prohibited by law' rather than ‘specifically prohibited by law, rule, or regulation’ suggests
that Congress meant to exclude rules and regulations."). By removing these
requirements, section 1681n(a)(1)(A) doesn't require that the "damages" under the
second option be "actual damages,” that they be "sustained by the consumer," or that
they be "a result of" the willful violation.

Second, we consider the "or" between the first and second options. 15 U.S.C. §
1681n(a)(1)(A). The "ordinary use" of "or" "is almost always disjunctive," and "the words
it connects are to be given separate meanings." United States v. Woods, 571 U.S. 31,

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45,134 S.Ct. 557, 187 L.Ed.2d 472 (2013) (emphasis added) (quotation omitted). So

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are alternatives." See Dacostagomez-Aguilar v. U.S. Att'y Gen., 40 F.4th 1312, 1316
(11th Cir. 2022),

Reading the second option as allowing for statutory damages without proof of actual
damages gives the two options "separate meanings." The first option allows the
consumer to recover for his actual damages. And the second option allows the
consumer to recover a minimum amount of "damages of not less than $100 and not
more than $1,000" for willful violations, even without actual damages.

Third, we compare the language in section 1681n(a)(1)(A) to the rest of the Act. Like for
willful violations, the Act provides a cause of action for negligent violations. 15 U.S.C. §
16810(a). But the negligent-violation provision "exclude[s] the statutory-damages option"
found in section 1681n(a)(1)(A). Beaudry v. TeleCheck Servs., Inc., 579 F.3d 702, 706
(6th Cir. 2009). Instead, for negligent violations, a consumer can only recover "any actual
damages sustained by the consumer as a result of the failure." 15 U.S.C. § 1681 o0(a)(1).
1154 This difference between the negligent- and willful-violation provisions *1154 "buttresses
the point" that the Act allows for statutory damages without proof of actual damages
where the consumer reporting agency commits more serious willful violations. See
Beaudry, 579 F.3d at 705-06. But for less serious negligent violations, the Act requires

proof of actual damages to recover damages.

Fourth, we look to the title of the second option. See Dubin v. United States, 599 U.S.
110, 120-21, 143 S.Ct. 1557, 216 L.Ed.2d 136 (2023) ("This Court has long considered
that the title of a statute and the heading of a section are tools available for the
resolution of a doubt about the meaning of a statute." (quotation omitted)). In 1996,
Congress added the second option to allow consumers to recover "damages of not less
than $100 and not more than $1,000." See Mexican Specialty, 564 F.3d at 1306 (quoting
Omnibus Consolidated Appropriations Act, 1997 § 2412). The new option had the title,
“Minimum Civil Liability for Willful Noncompliance” with the Act. Omnibus Consolidated
Appropriations Act, 1997 § 2412(b). The title shows that the second option was added to
section 1681n(a)(1)(A) to set a minimum liability threshold for willful violations, even if
the consumer did not meet the requirements for actual damages under the first option.

And fifth, we consider how we've read similar language in other federal statutes. See
Northcross v. Bd. of Educ. of Memphis City Schs., 412 U.S. 427, 428, 93 S.Ct. 2201, 37
L.Ed.2d 48 (1973) ("The similarity of language in [section] 718 and [section] 204(b) is, of
course, a strong indication that the two statutes should be interpreted pari passu.”). In
the Truth in Lending Act, for example—another federal consumer protection statute—
we've read similar damages language in a similar way. Like the Fair Credit Reporting
Act, the Truth in Lending Act allows a person to recover "any actual damage sustained
by such person as a result of the failure," or a statutory minimum amount—for example,
“in the case of an individual action relating to a credit transaction not under an open end
credit plan that is secured by real property or a dwelling, not less than $400 or greater
than $4,000." 15 U.S.C. § 1640(a)(1)-(2)(A)(i). This minimum amount, we've explained,
shows that "Congress granted consumers a minimum recovery ... without having to
prove actual damages." Parker v. DeKalb Chrysler Plymouth, 673 F.2d 1178, 1181 (11th
Cir. 1982). There are other examples. See, e.g., Cable/Home Comme'n Corp. v. Network

of 1934 and the Copyright Act of 1976 to allow for "statutory damages ... whether or not
adequate evidence exists as to the actual damages incurred by plaintiffs"); Vista Mkig.,.
LLC v. Burkett, 812 F.3d 954, 967-71 (11th Cir. 2016) (indicating that the Wiretap Act
“authorize[s] an award of statutory damages in the absence of an award for actual
damages").

Our Fair Credit Reporting Act caselaw is consistent with our conclusion that the second

option does not require a consumer to prove he suffered actual damages. In Levine v.

World Financial Network National Bank, the plaintiff sued a consumer reporting agency

for willfully violating the Act. 437 F.3d 1118, 1123 (11th Cir. 2006). The district court 137
dismissed the suit because the plaintiffs complaint hadn't sought damages under the
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second option and his claimed injuries were "too amorphous" to recover actual damages

contrary to the district court's reading, the plaintiffs complaint had sought "damages of
not less than $100 and not more than $1,000." /d. at 1123-25. And because the plaintiff
stated a prima facie claim under section 1681n(a)(1)(A) and sought damages *1155
under the second option, there was no need for us to examine the plaintiff's alleged
injuries since the plaintiffs allegation of willful noncompliance with the Act was itself an
injury that section 1681n "clearly recognize[d] as compensable." /d. at 1124-25; see also
Mexican Specialty, 564 F.3d at 1309 (explaining that the Act allows the "recovery of
statutory damages [by] those individuals who did not suffer actual damages").

Finally, our reading is consistent with how the other circuits have read section 1681n(a)
(1)(A). Every circuit to address the same issue agrees that "the plain language of the
provision permits recovery of statutory damages in the absence of actual damages."
Hammer v. Sam's E.,_Inc., 754 F.3d 492, 499-500 (8th Cir. 2014) ("[WJe cannot locate a
single case that interprets the [Act's] liability provision as requiring something more than
a statutory violation in order to recover ‘damages of not less than $100 and not more
than $1,000."), abrogation on other grounds recognized by Golan v. FreeEats.com, Inc.,,
930 F.3d 950, 957 (8th Cir. 2019); see also Beaudry, 579 F.3d at 705-06 ("[B]ecause the
statute permits a recovery when there are no identifiable or measurable actual damages
... a Claimant need not suffer (or allege) consequential damages to file a claim."); Murray
v. GMAC Mortg. Corp., 434 F.3d 948, 953 (7th Cir. 2006) ("[T]he Fair Credit Reporting
Act provide[s] for modest damages without proof of injury."); Robins v. Spokeo, Inc., 867
F.3d 1108, 1110-11 (9th Cir. 2017) ("The statute gives consumers... the right to sue (and
to recover statutory damages) for willful violations even if the consumer cannot show
that the violation caused him to sustain any actual damages."); Birmingham v. Experian
Info. Sols., Inc., 633 F.3d 1006, 1009 (10th Cir. 2011) ("Under [section] 1681n(a),
however, the consumer need not prove actual damages if the violation is willful, but may
recover ... statutory damages ranging from $100 to $1,000."). We join the other circuits
and hold that the second option of section 1681n(a)(1)(A) does not require proof of
actual damages.

Experian offers five counterarguments, but we are unconvinced.

First, Experian contrasts section 1681n(a)(1)(A) with the section that directly follows it.
Like its neighbor, section 1681n(a)(1)(B) also offers alternate recovery options, but it
doesn't use the term "damages" in the second option. Instead, section 1681n(a)(1)(B)
allows a consumer to recover either "actual damages sustained by the consumer ... or
$1,000, whichever is greater," when a person obtains a consumer's report under false
pretenses or knowingly without a permissible purpose. 15 U.S.C. § 1681n(a)(1)(B).
Experian contends that Congress's omission of the word "damages" from section
1681n(a)(1)(B)'s second option shows that consumers may recover damages even if
they haven't incurred actual damages. And if Congress wanted to provide the same
option to consumers in section 1681n(a)(1)(A), Experian argues, it would have drafted
section 1681n(a)(1)(A)'s second option the same way.

We don't find this minor difference meaningful. "[B]Jecause Congress sometimes uses
slightly different language to convey the same message," we cannot "place too much
emphasis on the marginal semantic divergence between," DePierre v. United States,
phrases "$1,000, whichever is greater," 15 U.S.C. § 1681n(a)(1)(B), and "damages of
not less than $100 and not more than $1,000," id. § 1681n(a)(1)(A). "[T]here is no
‘canon of interpretation that *1156 forbids interpreting different words used in different
parts of the same statute to mean roughly the same thing," Jennings v. Rodriguez, 583
U.S. 281, 138 S. Ct. 830, 845-46, 200 L.Ed.2d 122 (2018) (quoting Kirtsaeng v. John

Experian hasn't pointed us to one. That's what we do here with these two nearly identical

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provisions. Both entitle consumers to a minimum amount of statutory damages—they

Second, Experian argues our decision in Cahlin controls this case. To be sure, Cahlin
concluded that a consumer alleging a willful violation of the Act must show that an
inaccurate credit report "caused him harm." 936 F.2d at 1160-61 (affirming summary
judgment for the consumer reporting agency because the consumer had "utterly failed to
produce any evidence tending to show that he was damaged as a result of an allegedly
inaccurate... credit report"). But Cahlin was decided in 1991, five years before Congress
added the second option to section 1681n(a)(1)(A). See Mexican Specialty, 564 F.3d at
1306 (citing Omnibus Consolidated Appropriations Act, 1997 § 2412). "[Wle are not
bound by the prior precedent rule when there is a clear change in the law by Congress."
Sellers v. Rushmore Loan Mgmt. Servs., LLC, 941 F.3d 1031, 1043 n.7 (11th Cir, 2019)
(quotation omitted). Because Cahlin "was based on legislation that ha[s] been changed,"
it doesn't tell us whether the second option—which didn't exist when Cahlin was decided
—allows for statutory damages in the absence of actual damages. See United States v.

(characterizing Cahlin and other cases that "predate the critical 1996 amendment” as
"the least helpful" when interpreting the second option). Cahlin didn't decide, and
couldn't have decided, that question.

As Experian notes, we have continued to cite Cahlin since the 1996 amendment.) put
our post-amendment decisions citing Cahlin did not hold that the second option required
consumers to prove actual damages. See, e.g., Losch, 995 F.3d at 944 (noting, in dicta,
that a consumer must prove "damages followed as a result" of the violation); Erickson v.
First Advantage Background Servs. Corp., 981 F.3d 1246, 1251-53 (11th Cir. 2020)
("Because [the plaintiff]'s claim that the report was not maximally accurate cannot go on,
we need not consider the district court's independent ground for granting judgment as a
matter of law—that the report did not cause [him] harm.").

Third, Experian likens the Fair Credit Reporting Act to the Privacy Act of 1974, 5 U.S.C.
§ 552a(g)(4), which allows individuals to sue the federal government when it willfully
mishandles their personal information. If a plaintiff prevails under the Privacy Act, the
government is liable "in an amount equal to the sum of ... actual damages sustained by
the individual as a result of the refusal or failure, but in no case shall a person entitled to
recovery receive less than the sum of $1,000." Id. § 552a(g)(4)(A) (emphasis added).
The Supreme Court has read the Privacy Act as requiring plaintiffs to "prove some actual
damages to qualify for [the] minimum statutory award of $1,000." Doe v. Chao, 540 U.S.

should interpret section 1681n(a)(1)(A)'s second option the same way.

Experian's Privacy Act argument is misplaced because, unlike the minor differences
between sections 1681n(a)(1)(A) and 1681n(a)(1)(B), the text of section 1681n(a)(1)(A)
is simply "too far different from the language of the Privacy Act to serve as any sound
basis for analogy." See id. at 626, 124 S.Ct. 1204 (rejecting the plaintiffs attempt to liken
the Privacy Act to the Tax Reform Act of 1976); cf. Dacostagomez-Aguilar_40 F.4th at
1316 ("The flaw in [t]his argument starts with the word “or,' which joins the relevant [text].
That conjunction is important...."). Section 1681n(a)(1)(A)'s use of "or" "indicates
alternatives and requires that those alternatives be treated separately." See
Dacostagomez-Aguilar, 40 F.4th at 1316 (quotation omitted). That's why we read section
1681n(a)(1)(A) to offer a choice of two separate options. See Hammer, _754 F.3d at 500
(explaining that Congress described section 1681n(a)(1)(A)'s "permissible damages in
the disjunctive, which indicates that a consumer can bring a claim to recover statutory
damages ‘of not less than $100 and not more than $1,000' as an alternative to a claim
for actual damages").

In contrast, Congress's use of "but" in the Privacy Act doesn't indicate alternatives—it
indicates an exception to a general rule. See But, The American Heritage Dictionary of
the English Language (1969) ("With the exception that; except that."). The Privacy Act's
general rule is that a plaintiff may recover his or her actual damages. The exception is

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that if those actual damages are less than $1,000, then the plaintiff is entitled to "a

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124 S.Ct. 1204. The use of "but" instead of the disjunctive in the Privacy Act makes the
critical difference.

Fourth, Experian argues common law torts typically require proof of actual damages and
our reading departs from that traditional rule. Experian is correct that "statutes which
invade the common law are to be read with a presumption favoring the retention of long-
established and familiar principles." United States v. Texas, 507 U.S, 529, 534,113 S.Ct.
1631,123 L.Ed.2d 245 (1993) (cleaned up). But our reading doesn't depart from the
common law. To the contrary, section 1681n(a)(1)(A)'s second option is consistent with
the common law. That's because, as we explained, the Act's common-law analog is the
tort of defamation. Pedro, 868 F.3d at 1279-80 ("[T]he reporting of inaccurate information
about [a consumer's] credit... has a close relationship to the harm caused by the
publication of defamatory information...."). And defamation is a tort that doesn't condition
recovery on "proof of pecuniary loss or physical harm." See Doe, 540 U.S. at 621 & n.3,,
124 S.Ct. 1204 (cleaned up); see also Restatement (First) of Torts § 559 cmt. d (Am.
Law Inst. 1938) ("To be defamatory, it is not necessary that the communication actually
cause harm...."). We find nothing inconsistent between the common law and the Act
allowing consumers who did not sustain actual injuries to seek statutory damages.

Experian's final argument is that allowing consumers to recover statutory damages
absent actual damages "stretch[es] the statute far beyond Congress's design" by
effectively making consumer reporting agencies strictly liable for "every trivial
inaccuracy" in credit reports. But Experian's fears are unfounded. Congress made
consumer reporting agencies liable for statutory damages, but only when the agencies
willfully fail to "follow reasonable procedures to assure [the] maximum possible
accuracy" of their reports. 15 U.S.C. §§ 1681e(b), 1681n. "The existence *1158 of a
willfulness requirement proves that there is nothing ‘strict’ about the state of behavior
required to violate the law." Beaudry, 579 F.3d at 708: see also Williams v. First
Advantage LNS Screening Sols. Inc., 947 F.3d 735, 745 (11th Cir. 2020) ("The [Act] does
not make consumer reporting agencies strictly liable for all inaccuracies, but instead
creates a private right of action for ... willful violations of the [Act].").

V.

The denial of Mr. Santos and Ms. Clements's motion for class certification was an abuse
of discretion because the district court's analysis of Rule 23(b)(3)'s predominance
requirement was based on its contrary interpretation of the second option in section
1681n(a)(1)(A). Properly understood, a consumer alleging a willful violation of the Act
doesn't need to prove actual damages to recover "damages of not less than $100 and
not more than $1,000." While the parties raise other issues that may ultimately affect
whether the class should be certified, the district court's order denying class certification
only relied on its interpretation of section 1681n(a)(1)(A) and didn't address these other
arguments. We think it best to allow the district court to address these arguments in the
first instance on remand along with the remaining Rule 23 requirements. See Prado-
Sieiman ex rel. Prado v. Bush, 221 F.3d 1266, 1274 (11th Cir. 2000) ("[W]e should err, if
at all, on the side of allowing the district court an opportunity to fine-tune its class
certification order rather than opening the door too widely to interlocutory appellate
review." (citation omitted)).

VACATED AND REMANDED.

[1] Experian cites a few unpublished cases, but "we are not bound by unpublished decisions." S.-Owners Ins.
Co. v. Easdon Rhodes & Assocs. LLC, 872 F.3d 1161, 1165 n.4 (11th Cir. 2017) (citing 11th Cir. R. 36-2).

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